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 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

 STELLA HAVKIN (SBN 134334)
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                                                                                                           CLERK U.S. BANKRUPTCY COURT
 TRAVIS A. CORDER (SBN 237575)                                                                             Central District of California
                                                                                                           BY Pgarcia DEPUTY CLERK
 CORDER LAW OFFICE
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 Los Angeles, CA 90049
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 Fax: (310) 861-0320
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      Debtor(s) appearing without attorney
      Attorney for: Plaintiffs

                                       UNITED STATES BANKRUPTCY COURT
                          CENTRAL DISTRICT OF CALIFORNIA -SAN FERNANDO VALLEY DIVISION

 In re:                                                                      CASE NO.: 1:20-bk-10026-VK
                                                                             CHAPTER: 7
 JOSEPH WANAMAKER,
                                                                             ADVERSARY NO: 1:22-ap-01038-VK

                                                                                 STATUS CONFERENCE AND SCHEDULING
                                              Debtor(s)
                                                                                  ORDER PURSUANT TO LBR 7016-1(a)(4)
 THE AFFILIATI NETWORK, LLC., a Delaware Limited
 Liability Corporation fka THE AFFILIATI NETWORK,
 INC., a Florida Corporation, and SANJAY PALTA, an                           DATE: May 17, 2023
 individual                                                                  TIME: 1:30 p.m,
                                                                             COURTROOM: 301
                                                              Plaintiff(s)   ADDRESS: 21041 Burbank Blvd Woodland Hills,
                                                                             California 91367
                                    vs.


 JOSEPH WANAMAKER, an individual, UR MEDIA
 GROUP, INC, a Nevada Corporation,



                                                            Defendants

1.   A status conference took place on the date and time indicated above.
2.   Parties and counsel were present as reflected in the court record.
3.   This matter is disposed of as follows:
     a.       Continued to the following date for a further status conference:                   (date)                     (time)
     b.       A joint status report must be filed and served, including a judge’s copy, by (date):

          This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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    c.       The last day to join other parties and to amend pleadings is (specify date):
   d.        The last day for pre-trial motions to be filed and served, including a judge’s copy, is (date): September 15,
2023.
    e.       The last date for pre-trial motions to be heard is (date):
    f.       The last day for discovery to be completed, including receiving responses to discovery requests, is
             ): September 1, 2023
    g.       A       pre-trial stipulation or        pre-trial order must be filed and lodged by October 4, 2023
                 No pre-trial stipulation or pre-trial order is required
    h.       A pre-trial conference is set for (date) October 18, 2023 - 1:30 p.m.
                 No pre-trial conference is required
    i.       Estimate of time for trial (specify number of hours):
    j.       A trial is set for (date)                      (time)
    k.       The adversary proceeding is dismissed for failure to appear or prosecute
                with prejudice     without prejudice
    l.       Notice of next status conference or pre-trial conference date is waived
    m.       Other (specify):


                                                                         ###




                 Date: May 24, 2023




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